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        By ECF                                                                      January 7, 2022
        Honorable Gabriel W. Gorenstein
        United States Magistrate Judge
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                In Re: New York City Policing During Summer 2020 Demonstrations,
                       No. 20 Civ. 8924 (CM) (GWG)
                       This filing is related to all cases

        Your Honor:

                I am a Senior Counsel assigned to represent Defendants in the above-referenced matters.
        Defendants write to respectfully request an extension of time to produce the requested aviation
        footage from January 7, 2022 to January 26, 2022. Defendants made a first production of the
        aviation footage to Plaintiffs today.

                 By Order dated December 16, 2021, Your Honor directed that defendants produce the
        aviation videos by January 7th. The Court also advised that it would not entertain an extension of
        this deadline in the absence of affidavits from persons with personal knowledge of the
        technological impediments to meeting the deadline or by agreement of the parties. Plaintiffs’
        counsel would not consent to a requested extension. As such, in furtherance of this application,
        attached is a sworn declaration signed by a member of the New York City Police Department’s
        (“NYPD”) Lower Manhattan Security Initiative (“LMSI”) whose responsibilities include
        fulfilling requests for the type of videos at issue here.

                  As we conferred further with NYPD to obtain the aviation footage, the complexity of the
        process to produce it became clearer. NYPD preserved aviation footage of days related to the
        protests that are the subject of these lawsuits. What was preserved was not only the footage for
        protest events, but all video from every helicopter for each day of preservation. This includes
        videos of other unrelated law enforcement efforts, including, but not limited to, counterterrorism
        activities. The raw footage currently under review is approximately one terabyte, and not four as
        was previously estimated. Because of the potentially sensitive nature of the raw footage, access
        to it is limited and it cannot be sent off-site to an outside vendor for review. In order to produce
        responsive footage to the plaintiffs, NYPD must first manually review the entirety of the raw
        footage and identify responsive portions by time stamps. For this production, the review can
only be conducted by a limited number of attorneys from NYPD’s Legal Bureau who have
access to a third-party vendor’s proprietary review platform. The time stamps are then provided
to this third-party vendor and LMSI (a unit of NYPD’s Counterterrorism Bureau) to mark and
cull those specific videos and upload them to NYPD. Thereafter, NYPD can transmit them to
the Law Department for production to Plaintiff. This process takes a significant amount of time.
As such, while defendants made the first production of aviation videos today, they cannot
complete production by the current court-ordered deadline. The requested time will allow
NYPD Legal to review the raw footage, the third-party vendor and LMSI to cull and upload the
responsive footage (which should take about two weeks) and for NYPD to transmit it to Law
Department to produce to plaintiffs. We anticipate making productions on a rolling basis until
this process is completed.

       Accordingly, defendants respectfully request that the Court grant their request to extend
the time to produce the aviation footage to January 26, 2022.

       Thank you for your consideration herein.


                                                   Respectfully submitted,


                                                   Dara L. Weiss s/
                                                   Dara Weiss
                                                   Senior Counsel
                                                   Special Federal Litigation Division




cc:    ALL COUNSEL (via ECF only)
